            Case 2:24-cv-00976-GMN-BNW Document 3 Filed 05/31/24 Page 1 of 3



 1

 2

 3                              UNITED STATES DISTRICT COURT
 4                                      DISTRICT OF NEVADA
 5    DONALD ROBIN BARREN,                                    Case No. 2:24-cv-00976-GMN-BNW
 6                                          Petitioner,
              v.                                                             ORDER
 7
      JAMES DZURENDA, et al.,
 8
                                         Respondents.
 9

10          Petitioner Donald Robin Barren, a pro se Nevada prisoner, has not properly commenced
11   this habeas action by either paying the standard $5.00 filing fee or filing an Application for
12   Leave to Proceed In Forma Pauperis (“IFP”). He submitted a Petition for Writ of Habeas
13   Corpus (ECF No. 1-1) under 28 U.S.C. § 2241, but he did not pay the $5 filing fee or submit an
14   IFP Application.
15          Pursuant to 28 U.S.C. § 1914(a) and the Judicial Conference Schedule of Fees, a $5.00
16   filing fee is required to initiate a habeas action in a federal district court. The Court may
17   authorize an indigent prisoner to begin a habeas action without paying the $5 fee if he or she
18   submits an IFP application on the approved form and includes three specific documents: (a) the
19   prisoner’s financial declaration and acknowledgement showing an inability to prepay fees and
20   costs, (b) a financial certificate signed by the prisoner and an authorized prison official, and (c) a
21   copy of the prisoner’s account statement for the six-month period prior to filing. 28 U.S.C.
22   § 1915(a); LSR 1-1, LSR 1-2.
23          In addition, Petitioner must use the required form to state his claims in order to provide
24   the court with necessary information to conduct preliminary review of the petition. Accordingly,
25   if Petitioner intends to file a federal habeas case, Petitioner must file an Amended Petition on the
26   Court’s form within 45 days of the date of this order. Petitioner must clearly title the Amended
27   Petition as such by writing the word “AMENDED” immediately above “Petition for a Writ of
28   Habeas Corpus” on page 1 in the caption, and he must place the case number, 2:24-cv-00976-


                                                          1
           Case 2:24-cv-00976-GMN-BNW Document 3 Filed 05/31/24 Page 2 of 3



 1   GMN-BNW, in the designated space. Under Local Rule 15-1, the amended petition must be

 2   complete in itself without reference to previously filed papers. Thus, the claims and allegations

 3   that are stated in the amended petition will be the only matters remaining before the Court. Any

 4   claims or allegations that are left out of the amended petition or that are not re-alleged will not be

 5   considered.

 6          Petitioner will have 45 days from the date of this order to either pay the $5 filing fee or

 7   submit a complete IFP Application with all required documentation. Petitioner will have 45 days

 8   to file an Amended Petition on the Court’s form.

 9          IT IS THEREFORE ORDERED:

10          1. The initial screening of Petitioner Donald Robin Barren’s Petition for Writ of Habeas

11              Corpus (ECF No. 1-1) under the Rules Governing Section 2254 Cases is deferred to

12              until such time as he has fully complied with this order.

13          2. The Clerk of Court is instructed to send Petitioner (i) a blank form IFP Application

14              for incarcerated litigants along with two copies of this order, and (ii) a blank form

15              Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2254 with instructions.

16          3. Within 45 days of the date of this order, Petitioner must file an IFP Application that

17              includes a: (a) financial certificate signed by Petitioner and an authorized prison

18              official, (b) financial declaration and acknowledgement signed by Petitioner, and

19              (c) copy of Petitioner’s inmate account statement for the six-month period prior to

20              filing. Alternatively, Petitioner must pay the $5 filing fee within 45 days. If

21              Petitioner decides to pay the filing fee from his inmate account, he must arrange to

22              have a copy of this order attached to the check for the filing fee.

23          4. Petitioner must file an Amended Petition on the Court’s form within 45 days.

24              Petitioner must clearly title the amended petition as such by writing the word

25              “AMENDED” immediately above “Petition for a Writ of Habeas Corpus” on page 1

26              in the caption, and he must place the case number, 2:24-cv-00976-GMN-BNW, in the

27              designated space.

28   ///


                                                       2
     Case 2:24-cv-00976-GMN-BNW Document 3 Filed 05/31/24 Page 3 of 3



 1   5. Petitioner’s failure to comply with this order within 45 days by (a) filing an Amended

 2      Petition, and either (b) submitting a complete IFP Application, or (b) paying the filing

 3      fee will result in the dismissal of this action without prejudice and without further

 4      advance notice.

 5   DATED: May 31, 2024
 6
                                                  ________________________________
 7                                                GLORIA M. NAVARRO
                                                  UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28


                                              3
